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  8                   IN THE UNITED STATES DISTRICT COURT
  9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10
 11    BEAUTIVENTURES                          )   Civil Action No.
       INTERNATIONAL, LLC, a California        )   8:18-cv-00567 AG (DFMx)
 12    limited liability company, and          )
 13    BEAUTY ENCOUNTER, INC., a               )   ORDER GRANTING EX PARTE
       California corporation,                 )   MOTION TO SEAL
 14                                            )   PLAINTIFFS’ COMPLAINT
                   Plaintiffs,                 )
 15                                            )   Hon. Andrew J. Guilford
            v.                                 )
 16                                            )
 17    COUNTER BRANDS, LLC, a                  )
       Delaware limited liability company, and )
 18    COUNTER BRANDS, INC., a                 )
       Delaware corporation,                   )
 19                                            )
 20                Defendants.                 )

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Case 8:18-cv-00567-AG-KES Document 12 Filed 04/11/18 Page 2 of 2 Page ID #:87




  1        Having considered Plaintiffs Beautiventures International, LLC and Beauty
  2 Encounter, Inc. (collectively “Plaintiffs”) Ex Parte Motion to Seal the Complaint
  3 (Dkt. # 1), and the Declaration of Nital Scott, the Court GRANTS the Application.
  4 The following document is hereby ORDERED SEALED by the Clerk’s offic:
  5        No.   Description
  6        1     Complaint (Dkt. # 1)
  7
  8 IT IS SO ORDERED.
  9
 10 Dated: April 11, 2018
 11                                              Honorable Andrew J. Guilford
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